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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



SAMUEL LOPEZ,
    Plaintiff,
vs.
                                                                  COMPLAINT
85 FIRST AVE LLC and
A&T FISH AND CHIPS LLC,
      Defendants.



       Plaintiff, Samuel Lopez (“Plaintiff”), by his undersigned counsel, hereby files this

Complaint and sues Defendants, 85 First Ave llc and A&T Fish And Chips llc (“Defendants”),

for injunctive relief pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq.,

(hereinafter the “A.D.A”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(hereinafter the “ADAAG”).

                                       JURISDICTION

       1)      This Court has original jurisdiction over the action pursuant to 28 U.S.C.,

§§1331 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon

Defendant’s violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

       2)      Plaintiff currently resides in Brooklyn, New York, and is sui juris. Plaintiff is a

qualified individual with disabilities under the ADA law. Plaintiff is a paraplegic and is bound

to ambulate in a wheelchair.

       3)      Defendant, 85 FIRST AVE LLC, is a LLC and transacts business in the State of

New York and within this judicial district. Defendant, 85 FIRST AVE LLC, is the owner of the

real property which is the subject of this action located on or about at 85 1st Ave., New York,

NY 10003 (hereinafter “Subject Property” or “Facility”).
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       4)      Defendant, A&T FISH AND CHIPS LLC, is a LLC and transacts business in the

State of New York and within this judicial district. Defendant, A&T FISH AND CHIPS LLC, is

the lessee and operator of the business known as THE CHIPPERY, located at 85 1st Ave., New

York, NY 10003 (hereinafter the “Subject Property” or “Facility”).

       5)      Plaintiff has visited the Subject Property which forms the basis of this lawsuit on

or about early July, 2023, and again on or about September 19, 2023. On both of these

occasions, the Plaintiff’s ability to ambulate through the entrance of the Subject Property was

constrained, hindered, and thwarted by the structural barriers, that which prevented access to the

public accommodation. The Plaintiff plans to return to the Subject Property to avail himself of

the goods and services offered to the public at the Subject Property, and thereby determine

whether the Subject Property has been made ADA compliant. Plaintiff’s access to the Facility

and/or full and equal enjoyment of the goods, services, facilities, privileges, advantages, and/or

accommodations offered therein was denied and/or limited because of these disabilities, and

Plaintiff will be denied and/or limited in the future unless and until Defendants are compelled to

remove the physical barriers to access and ADA violations which exist at the Facility, including

but not limited, to those set forth in this Complaint.

       6)      Plaintiff lives only several miles from the Defendants’ Facility, passes by the

Defendants’ Facility at least once per week when he is doing errands, visiting family and friends

throughout the borough, and looking to eat out. Moreover, the Defendants’ Facility is in a

neighborhood that Plaintiff dines out two to three times per month. Foremost, Plaintiff has dined

at, and in, nearly all of the neighboring restaurants surrounding the subject facility, that are all

without obstructions. Moreover, Plaintiff dines at restaurants on this street about once or twice

per month, including but not limited to Starbucks, East Village Farm & Grocery, 99 Cent Fresh
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Pizza, and S.K Deli Market, amongst many others; and thereon affirms that he would dine at the

Defendant’s restaurant and avail himself of the goods and services offered to the public, were it

not for the structural barriers inhibiting his ability to enter the subject facility, in direct

contravention of Title III of the ADA and provisions under the ADAAG.

       7)       The Defendants’ Facility is a public accommodation and service establishment,

and although required by law to do so, it is not in compliance with the ADA and ADAAG.

Plaintiff has visited the Subject Property which forms the basis of this lawsuit and plans to

return to the Subject Property to avail himself of the goods and services offered to the public at

the Subject Property, and to determine whether the Subject Property has been made ADA

compliant. Plaintiff’s access to the Facility and/or full and equal enjoyment of the goods,

services, facilities, privileges, advantages, and/or accommodations offered therein was denied

and/or limited because of these disabilities, and Plaintiff will be denied and/or limited in the

future unless and until Defendants are compelled to remove the physical barriers to access and

ADA violations which exist at the Facility, including but not limited, to those set forth in this

Complaint.

       8)       Plaintiff has suffered and continues to suffer direct and indirect injury as a result

of the ADA violations that exist at the Facility. In this instance, Plaintiff visited the Facility and

encountered barriers to access at the Facility, engaged barriers, suffered legal harm and injury,

and will continue to suffer legal harm and injury as a result of the illegal barriers to access as set

forth herein.

       9)       Plaintiff visited the Facility and encountered barriers to access at the Facility no

less than two times, specifically on or about early May, 2023, and again on or about August 20,

2023, engaged the barriers, suffered legal harm and injury, and will continue to suffer legal
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harm and injury as a result of the illegal barriers to access as set forth herein. The Plaintiff will

continue to dine out in the neighborhood of the Defendants’ subject property, and will thereon

continue to attempt to access the services and facilities at said premises which have been

deprived at all times material.

       10)     All events giving rise to this lawsuit occurred in the State of New York. Venue is

proper in this Court as the premises are located in the Southern District.

                          FACTUAL ALLEGATIONS AND CLAIM

       11)     Plaintiff has attempted to access the Facility, but could not do so without severe

hardship, because of his disabilities, and the physical barriers to access and ADA violations that

exist at the Facility, which restrict and/or limit his access to the goods and services offered at the

Facility. The ADA violations are more specifically set forth in this Complaint.

       12)     Plaintiff intends to visit the Facility again in the near future in order to utilize all

of the goods and services offered therein but will be unable to do so because of the physical

barriers to access, dangerous conditions and ADA violations that exist at the Facility that

restrict and/or limit his access to the Facility, including those barriers conditions and ADA

violations more specifically set forth in this Complaint.

       13)     Defendants have discriminated against Plaintiff and others with disabilities by

denying access to, and full and equal enjoyment of the goods and services of the Facility, as

prohibited by 42 U.S.C., § 12182, et.seq., and by failing to remove architectural barriers as

required by 42 U.S.C., § 12182(b)(2)(A)(iv), and will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendants are compelled to remove all physical

barriers that exist at the Facility, including those specifically set forth herein, and make the

Facility accessible to and usable by persons with disabilities, including Plaintiff.
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       14)    Defendants have discriminated against Plaintiff by failing to comply with the

above requirements. A specific, although not exclusive, list of unlawful physical barriers,

dangerous conditions and ADA violations, which preclude and/or limit Plaintiff’s ability to

access the Facility and full and equal enjoyment of the goods, services offered at the Facility

include:

              1.   Inaccessible entrance.
              2.   Accessible route to establishment not provided as required.
              3.   Accessible means of egress not provided as required.
              4.   Existing steps at entrance act as a barrier to accessibility.
              5.   Required ramp not provided for steps at entrance.
                          ADAAG 206 Accessible Routes ADAAG 206.1 General.
                          Accessible routes shall be provided in accordance with 206 and shall
                          comply with Chapter 4.
                          ADAAG 206.2 Where Required.
                          Accessible routes shall be provided where required by 206.2.
                          ADAAG 206.2.1 Site Arrival Points.
                          At least one accessible route shall be provided within the site from
                          accessible parking spaces and accessible passenger loading zones;
                          public streets and sidewalks; and public transportation stops to the
                          accessible building or facility entrance they serve.
                          ADAAG 206.4 Entrances.
                          Entrances shall be provided in accordance with 206.4. Entrance doors,
                          doorways, and gates shall comply with 404 and shall be on an
                          accessible route complying with 402.
                          ADAAG 207 Accessible Means of Egress ADAAG 207.1 General.
                          Means of egress shall comply with section 1003.2.13 of the
                          International Building Code (2000 edition and 2001 Supplement) or
                          section 1007 of the International Building Code (2003 edition)
                          (incorporated by reference, “Referenced Standards” in Chapter 1).
                          ADAAG 402 Accessible Routes ADAAG 402.1 General.
                          Accessible routes shall comply with 402.
                          ADAAG 402.2 Components.
                          Accessible routes shall consist of one or more of the following
                          components: walking surfaces with a running slope not steeper than
                          1:20, doorways, ramps, curb ramps excluding the flared sides,
                          elevators, and platform lifts. All components of an accessible route
                          shall comply with the applicable requirements of Chapter 4.
                          ADAAG 403 Walking Surfaces ADAAG 403.4 Changes in Level.
                          Changes in level shall comply with 303
                          ADAAG 303.4 Ramps.
                          Changes in level greater than ½ inch high shall be ramped, and shall
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               comply with 405 or 406.

     6. Required minimum maneuvering clearance not provided at entrance door.
     7. Non-compliant change in floor level within required maneuvering clearance at
        entrance door.
               ADAAG 206 Accessible Routes ADAAG 206.1 General.
               Accessible routes shall be provided in accordance with 206 and shall
               comply with Chapter 4.
               ADAAG 206.2 Where Required.
               Accessible routes shall be provided where required by 206.2.
               ADAAG 206.2.1 Site Arrival Points.
               At least one accessible route shall be provided within the site from
               accessible parking spaces and accessible passenger loading zones;
               public streets and sidewalks; and public transportation stops to the
               accessible building or facility entrance they serve.
               ADAAG 206.4 Entrances.
               Entrances shall be provided in accordance with 206.4. Entrance doors,
               doorways, and gates shall comply with 404 and shall be on an
               accessible route complying with 402.
               ADAAG 206.4.1 Public Entrances.
               In addition to entrances required by 206.4.2 through 206.4.9, at least
               60 percent of all public entrances shall comply with 404.
               ADAAG 207 Accessible Means of Egress ADAAG 207.1 General.
               Means of egress shall comply with section 1003.2.13 of the
               International Building Code (2000 edition and 2001 Supplement) or
               section 1007 of the International Building Code (2003 edition)
               (incorporated by reference, “Referenced Standards” in Chapter 1)
               ADAAG 404.2.4 Maneuvering Clearances.
               Minimum maneuvering clearances at doors and gates shall comply
               with 404.2.4.
               Maneuvering clearances shall extend the full width of the doorway and
               the required latch side or hinge side clearance.
               ADAAG 404.2.4.4 Floor or Ground Surface.
               Floor or ground surface within required maneuvering clearances shall
               comply with 302. Changes in level are not permitted.

     8. Non-compliant door knob at entrance door requires twisting of the wrist.
              ADAAG 206 Accessible Routes ADAAG 206.1 General.
              Accessible routes shall be provided in accordance with 206 and shall
              comply with Chapter 4.
              ADAAG 206.2 Where Required.
              Accessible routes shall be provided where required by 206.2.
              ADAAG 206.2.1 Site Arrival Points.
              At least one accessible route shall be provided within the site from
              accessible parking spaces and accessible passenger loading zones;
              public streets and sidewalks; and public transportation stops to the
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                accessible building or facility entrance they serve.
                ADAAG 206.4 Entrances.
                Entrances shall be provided in accordance with 206.4. Entrance doors,
                doorways, and gates shall comply with 404 and shall be on an
                accessible route complying with 402.
                ADAAG 402 Accessible Routes ADAAG 402.1 General.
                Accessible routes shall comply with 402.
                ADAAG 402.2 Components.
                Accessible routes shall consist of one or more of the following
                components: walking surfaces with a running slope not steeper than
                1:20, doorways, ramps, curb ramps excluding the flared sides,
                elevators, and platform lifts. All components of an accessible route
                shall comply with the applicable requirements of Chapter 4.
                ADAAG 404 Doors, Doorways, and Gates ADAAG 404.1 General.
                Doors, doorways, and gates that are part of an accessible route shall
                comply with 404.
                ADAAG 404.2.7 Door and Gate Hardware.
                Handles, pulls, latches, locks, and other operable parts on doors and
                gates shall comply with 309.4
                ADAAG 309.4 Operation.
                Operable parts shall be operable with one hand and shall not require
                tight grasping, pinching,
                or twisting of the wrist. The force required to activate operable parts
                shall be 5 pounds maximum.

     9. Inaccessible service counter.
     10. Non-compliant height of service counter exceeds maximum height allowance.
               ADAAG227 Sales and Service ADAAG 227.1 General.
               Where provided, check-out aisles, sales counters, service counters,
               food service lines, queues, and waiting lines shall comply with 227
               and 904.
               ADAAG 904.4 Sales and Service Counters.
               Sales counters and service counters shall comply with 904.4.1 or
               904.4.2.
               The accessible portion of the counter top shall extend the same depth
               as the sales or service counter top.
               ADAAG 904.4.1 Parallel Approach.
               A portion of the counter surface that is 36 inches (915 mm) long
               minimum
               and 36 inches (915 mm) high maximum above the finish floor shall be
               provided.
               A clear floor or ground space complying with 305 shall be positioned
               for a parallel approach adjacent to the 36 inch (915 mm) minimum
               length of counter.

     11. Inaccessible dining tables.
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               12. Required minimum knee and toe clearance not provided at dining tables.
               13. A minimum percentage of existing dining tables required to be accessible not
                   provided.
                          ADAAG 226 Dining Surfaces and Work Surfaces ADAAG 226.1
                          General.
                          Where dining surfaces are provided for the consumption of food or
                          drink, at least 5 percent of the seating spaces and standing spaces at the
                          dining surfaces shall comply with 902.
                          ADAAG 902 Dining Surfaces and Work Surfaces ADAAG 902.1
                          General.
                          Dining surfaces and work surfaces shall comply with 902.2 and 902.3.
                          ADAAG 902.2 Clear Floor or Ground Space.
                          A clear floor space complying with 305 positioned for a forward
                          approach shall be provided. Knee and toe clearance complying with
                          306 shall be provided.
                          ADAAG 306.2 Toe Clearance.
                          ADAAG 306.2.3 Minimum Required Depth.
                          Where toe clearance is required at an element as part of a clear floor
                          space, the toe clearance shall extend 17 inches (430 mm) minimum
                          under the element.
                          ADAAG 306.2.5 Width.
                          Toe clearance shall be 30 inches (760 mm) wide minimum.
                          ADAAG 306.3 Knee Clearance.
                          ADAAG 306.3.3 Minimum Required Depth.
                          Where knee clearance is required under an element as part of a clear
                          floor space, the knee clearance shall be 11 inches deep minimum at 9
                          inches above the ground, and 8 inches deep minimum at 27 inches
                          (685 mm) above the finish floor or ground.
                          ADAAG 306.3.5 Width.
                          Knee clearance shall be 30 inches (760 mm) wide minimum.

       15)     The above listing is not to be considered all-inclusive of the barriers which exist

at the Facility. Plaintiff requires an inspection of the Facility in order to determine all of the

ADA violations.

       16)     The removal of the physical barriers, dangerous conditions, and ADA violations

set forth herein is readily achievable and can be accomplished and carried out without much

difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

36.304.
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        17)     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendants are required to remove the physical barriers, dangerous conditions, and ADA

violations that exist at the Facility, including those set forth herein.

        18)     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

        19)     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an order to alter the Facility to make it readily accessible

to and useable by individuals with disabilities to the extent required by the ADA, and closing

the Facility until the requisite modifications are completed.

        WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

injunction enjoining Defendants from continuing is discriminatory practices, ordering

Defendants to remove the physical barriers to access and alter the Facility to make it readily

accessible to and useable by individuals with disabilities to the extent required by the ADA,

closing the Facility until the barriers are removed and requisite alterations are completed, and

awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

incurred in this action.

                                                    Respectfully submitted

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                                              By: s/ Maria-Costanza Barducci
                                                  Maria-Costanza Barducci, Esq.
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